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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     October 15, 2020

BY ECF

The Honorable Victor Marrero
United States District Judge
Southern District of New York                                                       10/16/2020
500 Pearl Street
New York, New York 10007

       Re:     United States v. Lucian Rogers, 19 Cr. 627 (VM)

Dear Judge Marrero:

        A status conference is scheduled in the above-captioned case for defendant Lucian Rogers
for October 16, 2020, at 1 p.m. On June 3, 2020 and August 14, 2020, Your Honor held
conferences to address issues with respect to Rogers’s compliance with certain pretrial release
conditions. The Court scheduled the upcoming conference to allow the parties and the Court to
assess whether Rogers has adjusted his conduct so as to comply fully with his pretrial release
conditions. The Government has learned from Pretrial Services that, since the most recent
conference, Rogers has been compliant with the terms of his release. Therefore, the Government,
in consultation with Pretrial Services, recommends that the Court take no further action on this
issue at this time, and, with the consent of the defendant by defense counsel, respectfully requests
that the Court adjourn the October 16, 2020 status conference sine die.

                                                     Respectfully submitted,

                                                     Audrey Strauss
                                                     Acting United States Attorney

                                              By:    _______________________
                                                     Brett M. Kalikow / Alexandra N. Rothman
                                                     Assistant United States Attorneys
                                                     (212) 637-2220 / 2580

Cc: All Counsel of Record (via ECF)

                                              The status conference
                      scheduled for October 16, 2020 is hereby
                      adjourned sine die.



                       10/16/2020
